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                                  ID #:4641




                      EXHIBIT 2
Case
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                                                                                     ID
                                        ID#:1924
                                           #:4642


 1 Zachary T. Timm (SBN 316564)
   zach.timm@klgates.com
 2 K&L GATES LLP
   10100 Santa Monica Boulevard
 3 Seventh Floor
   Los Angeles, California 90067
 4 Telephone: 310.552.5000
   Facsimile: 310.552.5001
 5
   Beth W. Petronio, admitted pro hac vice
 6 beth.petronio@klgates.com
   K&L GATES LLP
 7 1717 Main Street, Suite 2800
   Dallas, TX 75201
 8 Telephone: (214) 939-5815
   Facsimile: (214) 939-5849
 9
     Attorneys for Defendant
10   Tyler Technologies, Inc.
11
                          UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
13
     LENORE ALBERT, JAMES                        Case No. 8:24-cv-01997-WLH-DFM
14   OCON, RYAN MCMAHON,                         [Assigned to the Hon. Wesley L. Hsu]
     LARRY TRAN, THERESA
15   MARASCO; CHAD PRATT; AND                    DECLARATION OF BETH
     LESLIE WESTMORELAND                         PETRONIO IN SUPPORT OF
16                                               DEFENDANT TYLER
                     Plaintiffs,                 TECHNOLOGIES, INC.’S NOTICE
17                                               OF MOTION AND MOTION TO
            v.                                   DISMISS FIRST AMENDED
18                                               COMPLAINT
     TYLER TECHNOLOGIES, INC.,
19   STATE BAR OF CALIFORNIA;                    Complaint Filed: September 16, 2024
     RICK RANKIN, STEVE MAZER,
20   LEAH WILSON, RUBEN DURAN                    Hearing Date:    December 20, 2024
     SHERRELL MCFARLANE;                         Time:            1:30 p.m.
21   KATHERINE KINSEY, BENSON                    Courtroom:       9B
     HOM, CINDY CHAN, SUZANNE
22   GRANT, and DOES 1-50,
     inclusive,
23
                     Defendants.
24

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                                   DECLARATION OF BETH PETRONIO
Case
Case8:24-cv-01997-WLH-DFM
     8:24-cv-01997-JLS-DFM      Document
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                                                                                  ID
                                     ID#:1925
                                        #:4643


 1                        DECLARATION OF BETH PETRONIO

 2        I, Beth W. Petronio, declare as follows:

 3        1.     I am a partner at the law firm of K&L Gates LLP (the “Firm”), counsel for

 4 Defendant Tyler Technologies, Inc. (“Tyler” or “Defendant”) in the above-captioned

 5 matter. I am over the age of 18 years, have personal knowledge of the facts contained

 6 in this declaration, and if called as a witness, could and would testify competently to the

 7 truth of the facts stated herein. I submit this Declaration in support of Tyler’s Motion to

 8 Dismiss First Amended Complaint (the “Motion”).

 9        2.     On October 17, 2024, I emailed Plaintiffs to inform that that I and the Firm

10 represented Tyler, and informing Plaintiffs that Tyler desired to speak with Plaintiffs

11 regarding their complaint.

12        3.     On October 17, 2024, I (and nobody else from the Firm) received a calendar

13 invite from Plaintiff Lenore Albert for a meet and confer on Tyler’s and the State Bar of

14 California’s intended motions in response to Plaintiffs’ Complaint. This meet and confer

15 was scheduled for October 23, 2024.

16        4.     On October 23, 2024, I logged into the Zoom meeting that Ms. Albert sent

17 me prepared to meet and confer with Plaintiffs’ regarding Tyler’s intended Motion to

18 Dismiss the Complaint. I was removed from the Zoom meeting before it began (and

19 before I had said anything), and was not permitted to re-join.

20        5.     On October 28, 2024, I received another calendar invite from Ms. Albert

21 with a Zoom link to join a subsequent meet and confer

22        6.     On October 29, 2024, I participated in a meet confer between Tyler, the

23 State Bar of California and related defendants (through their counsel), and the Plaintiffs.

24 During this meet and confer conference I explained that Tyler intended to move to

25 dismiss Plaintiffs’ Complaint in its entirety, including all individual causes of action.

26 During that same meet and confer I informed Plaintiffs that Tyler believed the claims

27 filed against it were all frivolous, and that Tyler was contemplating a motion for

28 sanctions. I further described and discussed the grounds on which that motion would be

                                                1
                                DECLARATION OF BETH PETRONIO
Case
Case8:24-cv-01997-WLH-DFM
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                                                                                        ID
                                           ID#:1926
                                              #:4644


     1    based. Plaintiffs indicated that they would not amend their complaint to dismiss Tyler,
     2   and so Tyler prepared a motion to dismiss the Complaint, which was to be filed by
     3   November 6, 2024.
     4          7.     On November 5, 2024, Plaintiffs filed their First Amended Complaint.
     5          8.     On November 6, 2024, I exchanged emails with Plaintiffs informing them
     6   that Tyler intended to file a motion to dismiss the First Amended Complaint and all
 7       causes of action against Tyler therein, including to advise Plaintiffs of the grounds for
 8 Tyler's motion. Attached hereto as Exhibit A is a true and correct copy of this email
 9 exchange.

10              9.    Ms. Albert stated she was unavailable during the week of November 4
11       because she was purportedly drafting a multiple motions to be filed in this case. The
12       Parties were not able to meet and confer on Tyler's motion until November 12, 2024.
13             10.    On November 12, 2024, I participated in a meet and confer conference with
14       Plaintiffs and counsel for the State Bar of California and related individual defendants.
15       During that conference, I explained that Tyler intended to file a motion to dismiss
16       Plaintiffs' First Amended Complaint and explained the grounds for such motion.
17       Plaintiffs declined to dismiss Tyler.
18             Executed this 17th day ofNovember, 2024 in Dallas, Texas.
19

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                                     DECLARATION OF BETH PETRONIO
Case 8:24-cv-01997-JLS-DFM
     8:24-cv-01997-WLH-DFM Document
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                                     80-2   Filed 11/18/24
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                                                                  5 of 11
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                                   #:1927




                    EXHIBIT A
        Case 8:24-cv-01997-JLS-DFM
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                                                                                                    6 of 11
                                                                                                         15 Page
                                        ID #:4646
                                           #:1928

Timm, Zach T.

From:              Petronio, Beth W.
Sent:              Wednesday, November 06, 2024 1:07 PM
To:                lenore albert; Kevin Gilbert; jim.ocon@oconcompany.com; codethree53@gmail.com;
                   larrylytran@gmail.com; theresa.marasco@gmail.com; westmorelandlw7@gmail.com
Cc:                Elena LaBella; Jennifer Garcia; Nicholas D. Fine; chadprattsr@gmail.com; Timm, Zach T.
Subject:           RE: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions



Ms. Albert and all other plaintiffs:

Let me start by stating the obvious – you sued Tyler; not the other way around. Having been sued, Tyler
now has an obligation under the Federal Rules to respond to the amended complaint by November 18
and all counsel and pro se parties have an obligation under the local rules to meet and confer regarding
that response no later than 7 days prior to that date, which would be November 11. Defendants have
proposed November 7 at 3pm PT for that meeting and have not heard any alternative within the 7-day
window from any one of the plaintiffs. The fact that Ms. Albert personally is working on an injunction,
was busy drafting the amended complaint, or doesn’t have a “staff” is an issue created by Ms. Albert,
who certainly could have drafted her injunction before the complaint was filed. Nor should the fact that
she is busy drafting an injunction impact whether each of the other plaintiffs can independently
participate in a meet and confer. The issue is not about how long it takes Tyler to prepare its motion; it’s
about complying with the local rules on the meet and confer. So, unless I hear a different time proposed
within the 7-day window, Tyler will be prepared to meet and confer tomorrow as Mr. Gilbert proposed.
Also, in terms of your suggestion that our motion will “mirror” what was filed in the state court, let me be
absolutely clear about what our motion will include (and what we discussed on October 29). With regard
to the negligence claim filed by Ms. Albert that is based on the data breach, we will assert the same
grounds asserted in the state court action (lack of duty, no damages, no proximate cause), along with
statute of limitations. With regard to the interference claims asserted by the other plaintiffs (which are
not part of the state court action), we will assert that there are no facts in the complaint to support the
conclusory allegations, including no fact supporting the suggestion that Tyler was aware of these
plaintiffs or of Ms. Albert’s relationships or contracts with any of them (a required element for the
interference claims). Nor is there any factual allegation that Tyler had any involvement in Ms. Albert’s
disbarment. It is not enough to merely say Tyler ratified the State Bar’s behavior; you must state facts
that support your assertion that Tyler took some action that caused harm to you. There are no such
factual allegations in the complaint nor can any such facts truthfully be pled.

Thank you,
Beth




From: lenore albert <lenalbert@interactivecounsel.com>
Sent: Wednesday, November 6, 2024 10:38 AM
To: Kevin Gilbert <kgilbert@ohhlegal.com>; jim.ocon@oconcompany.com; codethree53@gmail.com;
larrylytran@gmail.com; theresa.marasco@gmail.com; westmorelandlw7@gmail.com; Petronio, Beth W.
<beth.petronio@klgates.com>
Cc: Elena LaBella <elabella@ohhlegal.com>; Jennifer Garcia <jgarcia@ohhlegal.com>; Nicholas D. Fine
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                                                                   Case 8:24-cv-01997-JLS-DFM
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                                                                                                                                                                                                                                                                                      15 Page
                                                                                                   ID #:4647
                                                                                                      #:1929
<nfine@ohhlegal.com>; chadprattsr@gmail.com; Timm, Zach T. <Zach.Timm@klgates.com>
Subject: Re: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions
Dear Counsel, As I informed you on October 29, 2024 during our meet and confer I would seek a preliminary injunction. As a disbarred attorney, unlike you, I have no staff. I have no paralegal, no legal assistant, no legal secretary or law clerk
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                         This Message Is From an External Sender
                         This message came from outside your organization.

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Dear Counsel,

As I informed you on October 29, 2024 during our meet and confer I would seek a preliminary
injunction. As a disbarred attorney, unlike you, I have no staff. I have no paralegal, no legal assistant,
no legal secretary or law clerk to assist me in all of the things that you have readily at your fingertips.
Not that it is any of your business, but it should be apparant after filing the First Amended Complaint I
am still in the midst of preparing my motion for preliminary injunction and your piling on is only
distracting me from that end making it longer for me to prepare the motion.
If we met and conferred next Tuesday morning as I suggested, you would still have 7 days with full
staff to file your motions including other attorneys on this case.

Beth, you stated that your motions would mirror the motions you filed in the state court matter. Seven
days to change a caption page and footers is plenty of time to get that accomplished.

Kevin, your email stated that the "same" deficiencies existed in the first amended complaint as in the
original complaint. At the last meet and confer session you stated that the State Bar already had
those defense prepared. Therefore it appears you would only have to change the hearing date on
your papers.

Consequently, 7 days with full staff that you each have the luxury of assisting you, including other
attorneys does not seem to decry any prejudice either.

If you want a stipulation to extend time to respond by 30 days, I am happy to sign such.

Finally, if neither of you understand why Kevin attached orders granting attorney fees as sanctions,
how am I supposed to shine a light on that decision that was made by Kevin? I can only conclude it
was a further threat just like his first email threatening a $10,000.00 bond.



Sincerely,

Lenore Albert

lenorealbert.com/


On Wednesday, November 6, 2024 at 08:00:09 AM PST, Petronio, Beth W. <beth.petronio@klgates.com> wrote:



Ms. Albert

I also do not understand your comments. There was nothing attached to Mr. Gilbert’s email.
                                                                                                                                                                                                                                                       2
                                                               Case 8:24-cv-01997-JLS-DFM
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                                                                                                                                                                                                                                                                                15 Page
                                                                                               ID #:4648
                                                                                                  #:1930
Tyler is available on November 7 at 3pm PT as well and agrees with Mr. Gilbert that the meet and confer is required to
take place this week, as our deadline to respond is 14 days from the date of the Amended Complaint. See Fed. R. Civ. P.
15(a)(3).

Thank you,

Beth




From: Kevin Gilbert <kgilbert@ohhlegal.com>
Sent: Wednesday, November 6, 2024 9:32 AM
To: lenore albert <lenalbert@interactivecounsel.com>; jim.ocon@oconcompany.com;
codethree53@gmail.com; larrylytran@gmail.com; theresa.marasco@gmail.com; westmorelandlw7@gmail.com
Cc: Elena LaBella <elabella@ohhlegal.com>; Jennifer Garcia <jgarcia@ohhlegal.com>; Nicholas D. Fine
<nfine@ohhlegal.com>; chadprattsr@gmail.com; Petronio, Beth W. <beth.petronio@klgates.com>; Timm,
Zach T. <Zach.Timm@klgates.com>
Subject: RE: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions


Don’t understand your comments. Are we confirmed for November 7 at 3 or is there another time this week that works better for the Plaintiffs? From: lenore albert <lenalbert@ interactivecounsel. com> Sent: Wednesday, November 6, 2024 7: 15




Don’t understand your comments.

Are we confirmed for November 7 at 3 or is there another time this week that works better for the Plaintiffs?




From: lenore albert <lenalbert@interactivecounsel.com>
Sent: Wednesday, November 6, 2024 7:15 AM
To: Kevin Gilbert <kgilbert@ohhlegal.com>; jim.ocon@oconcompany.com; codethree53@gmail.com;
larrylytran@gmail.com; theresa.marasco@gmail.com; westmorelandlw7@gmail.com
Cc: Elena LaBella <elabella@ohhlegal.com>; Jennifer Garcia <jgarcia@ohhlegal.com>; Nicholas D. Fine
<nfine@ohhlegal.com>; chadprattsr@gmail.com; Beth W. Petronio - K&L Gates (beth.petronio@klgates.com)
<beth.petronio@klgates.com>; Zachary T. Timm (Zach.Timm@klgates.com) <zach.timm@klgates.com>
Subject: RE: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions




Why would you attach an order granting attorney fees and not mention it in your email? That is not notice or anything.




Furthermore I take that as a threat and it only confirms what I have be n saying the defendants are using the state bar to
line their own pockets.

Yahoo Mail: Search, Organize, Conquer




On Wed, Nov 6, 2024 at 9:36 AM, Kevin Gilbert
                                                                                                                                                                                                                                                 3
      Case 8:24-cv-01997-JLS-DFM
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                                           80-2                           Filed 11/18/24
                                                                                01/08/25        Page 5
                                                                                                     9 of 11
                                                                                                          15 Page
                                      ID #:4649
                                         #:1931
<kgilbert@ohhlegal.com> wrote:




You’re mistaken – the rules allow us 14 days to respond to an amended pleading. Thus, the meet and confer must be
completed this week. We will proceed as proposed on November 7, 2024 at 3, unless you have a time that works better
for Plaintiffs.




From: lenore albert <lenalbert@interactivecounsel.com>
Sent: Tuesday, November 5, 2024 5:56 PM
To: jim.ocon@oconcompany.com; codethree53@gmail.com; larrylytran@gmail.com;
theresa.marasco@gmail.com; westmorelandlw7@gmail.com; Kevin Gilbert <kgilbert@ohhlegal.com>
Cc: Elena LaBella <elabella@ohhlegal.com>; Jennifer Garcia <jgarcia@ohhlegal.com>; Nicholas D. Fine
<nfine@ohhlegal.com>; chadprattsr@gmail.com; Beth W. Petronio - K&L Gates (beth.petronio@klgates.com)
<beth.petronio@klgates.com>; Zachary T. Timm (Zach.Timm@klgates.com) <zach.timm@klgates.com>
Subject: Re: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions




Dear Mr. Gilbert,




I am not familiar with a rule that would require an emergency meet and confer for this week. It is my understanding you
have 21 days to respond to the amended pleading, thus there is no emergency. We are, I literally mean I am not available
this week at this time. I am available next Tuesday during business hours that takes into account Beth's time difference
and during business hours which all have coordinated on our end.




If you hold a meeting at a time plaintiffs are not available that does not comply with the local rules.




Sincerely,

Lenore Albert




lenorealbert.com/




On Tuesday, November 5, 2024 at 05:50:17 PM PST, Kevin Gilbert <kgilbert@ohhlegal.com> wrote:




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     Case
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                                     ID #:4650
                                         #:1932


Unfortunately, the local rules require the meet and confer conference to be completed this week. We will
proceed as proposed on November 7 at 3, unless you have another date/time that works better for Plaintiffs
this week.

Thank you,

Kevin




From: lenore albert <lenalbert@interactivecounsel.com>
Sent: Tuesday, November 5, 2024 4:47 PM
To: jim.ocon@oconcompany.com; codethree53@gmail.com; larrylytran@gmail.com;
theresa.marasco@gmail.com; westmorelandlw7@gmail.com; Kevin Gilbert <kgilbert@ohhlegal.com>
Cc: Elena LaBella <elabella@ohhlegal.com>; Jennifer Garcia <jgarcia@ohhlegal.com>; Nicholas D. Fine
<nfine@ohhlegal.com>; chadprattsr@gmail.com; Beth W. Petronio - K&L Gates (beth.petronio@klgates.com)
<beth.petronio@klgates.com>; Zachary T. Timm (Zach.Timm@klgates.com) <zach.timm@klgates.com>
Subject: Re: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions




Dear Mr. Gilbert,




Thank you for your email. We are available on Tuesday, November 12, 2024, at 8:00AM PST.




Last time, none of the following questions were answered, and I would like to know about any relevant causes of action
you determine should be dismissed or struck.




In an attempt work out issues in good faith, maybe my unanswered questions suprised you. In the atmosphere of civility, I
have written them out below to give you plenty of time to have your response and make it a productive meeting.




As always, if November 12, 2024 at 8:00AM PST works for the defendants, please let me know by Friday.




                       1.   Are you going to file a motion to dismiss based on Subject Matter Jurisdiction?

                                1.   If so, please point out the basis for this motion.

                       2.   Are you going to file a motion to dismiss based on lack of Standing?

                                1.   If so, please point out the basis for this legal argument?

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     Case
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                                                                                                    of11
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                                                                                                          Page
                                     ID #:4651
                                         #:1933
                       3.   12b6 – Facts Missing to State a Cause of Action – To give you notice what is being pled

                                1. Are you moving to dismiss the cause of action because it fails to state enough facts
                                to support a cause of action?

                                2. Is your argument going to be based on plausibility? That the facts are not plausible?
                                If so, which specific fact is nor plausible?

                       4. FRCP 8 – Are you going to arge that this cause of action fails to meet the Rule 8 standarf of
                       giving a plain and short statement of violation alleged?

                       5.   Are you going to argue that this cause of action is vague, ambiguous, or indefinite?

                       6. If you are going to argue it is not a short statement yet it is vague and ambiguous what would
                       you like me to do – make it longer with more detail or take some of the detail out and make it
                       shorter?

                       7. Is there a type of damage alleged you do not believe is supported by this type of cause of
                       action?

                       8. Are you going to assert any of the defendants you represent are immune from liability in this
                       cause of action?

                                1.   If so, which defendants are immune?

                                2.   For each defendant, what type of immunity are you going to assert?

                                3.   Have you given me the legal bases for each immunity you intend to assert?

                       9.   Have you given me the legal bases you intend to argue in dismissing this cause of action?




We are available at 8:00AM on Tuesday November 12, 2024 PST. A zoom link for the meeting is below.




Lenore Albert is inviting you to a scheduled Zoom meeting.




Topic: Albert, et al v Tyler Technologies, et al 8:00AM PST Tues 11-12-24

Time: Nov 12, 2024 08:00 AM Pacific Time (US and Canada)




Join Zoom Meeting

https://us06web.zoom.us/j/84948331157?pwd=3pUbsgV5UAzDfdNxx1cBnKZiUfyplW.1




Meeting ID: 849 4833 1157

Passcode: 223753
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      Case
      Case8:24-cv-01997-JLS-DFM
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                                                                    Page12
                                                                         8 of
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                                      ID #:4652
                                          #:1934


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One tap mobile

+13052241968,,84948331157#,,,,*223753# US

+13092053325,,84948331157#,,,,*223753# US




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Dial by your location

• +1 305 224 1968 US

• +1 309 205 3325 US

• +1 312 626 6799 US (Chicago)

• +1 646 931 3860 US

• +1 929 205 6099 US (New York)

• +1 301 715 8592 US (Washington DC)

• +1 360 209 5623 US

• +1 386 347 5053 US

• +1 507 473 4847 US

• +1 564 217 2000 US

• +1 669 444 9171 US

• +1 669 900 6833 US (San Jose)

• +1 689 278 1000 US

• +1 719 359 4580 US

• +1 253 205 0468 US

• +1 253 215 8782 US (Tacoma)

• +1 346 248 7799 US (Houston)



                                            7
        Case
        Case8:24-cv-01997-JLS-DFM
             8:24-cv-01997-WLH-DFM Document
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                                                                                                        15 Page
                                                                                                           Page
                                        ID #:4653
                                            #:1935
Meeting ID: 849 4833 1157

Passcode: 223753




Find your local number: https://us06web.zoom.us/u/kbDqEER2Fb




Sincerely,

Lenore Albert




lenorealbert.com/




On Tuesday, November 5, 2024 at 09:56:44 AM PST, Kevin Gilbert <kgilbert@ohhlegal.com> wrote:




Thank you for filing Plaintiffs’ FAC. After reviewing that pleading, it appears to suffer from the same deficiencies and is
subject to the same defenses as previously discussed both in the numerous emails and the prior meet and confer
conferences. Pursuant thereto, the State Bar Defendants will be filing motions which challenge the entirety of Plaintiffs’
claims, with those arguments being identical to the ones discussed during our prior conferences. Nevertheless, we
wanted to schedule a further meet and confer conference, both to assure there is no question that the Court’s local rules
are satisfied as well as to discuss the issues further, should you have any additional questions.




We have tentatively scheduled the meet and confer call for Thursday, November 7, 2024, at 3:00 pm, but are happy to
reschedule it to any other time this week. Unless we receive an alternate date and time from you prior to the close of
business tomorrow (November 6, 2024), we will assume that the November 7, 2024 call is confirmed and will circulate a
zoom link.




Thank you,

Kevin




                                                              8
       Case 8:24-cv-01997-JLS-DFM
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                                             80-2                 Filed 11/18/24
                                                                        01/08/25      Page 10
                                                                                           14 of 11
                                                                                                 15 Page
                                        ID #:4654
                                           #:1936
From: Kevin Gilbert
Sent: Tuesday, October 15, 2024 3:01 PM
To: lenalbert@interactivecounsel.com; jim.ocon@oconcompany.com; codethree53@gmail.com;
larrylytran@gmail.com; theresa.marasco@gmail.com; chadprattsr@gmail.com; westmorelandlw7@gmail.com
Cc: Grandt, Suzanne <suzanne.grandt@calbar.ca.gov>; Elena LaBella <elabella@ohhlegal.com>; Jennifer
Garcia <jgarcia@ohhlegal.com>; Nicholas D. Fine <nfine@ohhlegal.com>
Subject: Albert, et al. v. Tyler Technologies, Inc., et al. -- State Bar Defs' Anticipated Motions



As each of you are aware, our firm represents the State Bar Defendants in response to your recent
lawsuit. We wanted to reach out prior to filing the following applications/motions:



   •    Ex Parte Application, which will request 1) an order requiring Plaintiffs to post a security bond of at
        least $10,000 prior to proceeding with litigation, and 2) an order extending the time for Defendants to
        file their responsive motions by at least 30 days or, in the alternative, 30 days after Plaintiffs post a
        security bond;
   •    Anti-SLAPP Motion to Strike, which will seek sanctions for violating the Anti-SLAPP statutes,
        including requesting that the Court order each Plaintiff to reimburse Defendants for their time and
        expense in having to respond to the above-referenced litigation;
   •    Motion to Sever, which will seek to sever the separate claims into different lawsuits, with Ms. Albert’s
        claims proceeding separately from the remainder of the Plaintiffs; and
   •    Motion to Dismiss, which will challenge the entirety of the asserted claims on at least the following
        grounds:

           o   Lack of jurisdiction to address claims related to attorney discipline/licensing;
           o   Claim splitting/res judicata as related to the prior adjudication of the claims related to the
               purported breach of confidentiality/privacy, as well as due to the pending state court litigation for
               those same claims;
           o   Lack of duty due to the absence of any legal duty owed by Defendants to each of the Plaintiffs;
               and
           o   Defendants’ entitlement to immunity under the Government Code, for prosecutorial immunity
               and/or qualified immunity.



Obviously, the foregoing is not intended to be an exhaustive discussion of the perceived deficiencies in the
Complaint, but is intended to provide a general understanding of the arguments that will be advanced in the
forthcoming motions, in hopes of assuring that our discussions are meaningful. Given the number of parties
that are involved in these discussions, we propose having a conference call on Friday, October 18 at 1:30pm
so that everyone can join to discuss these matters. Unless we hear from you to the contrary, we will circulate a
zoom link for everyone to join at that time.



Please let us know if you have any other issues you would like to discuss. Otherwise, we look forward to
working with all of you and to our discussions on Friday at 1:30pm.



Thank you,

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